Case 1:04-cv-01176-STA Document 31 Filed 08/26/05 Page 1 of 3 P%ge|D 31

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IN THE UNITED STATE,S DISTRICT COURT 635 \

WESTERN DISTRICT OF TENNESSEE
EASTERN DIVISION

 

 

MARQUlNTAS D. WALKER,
Plaintiff,

v. Civil Action l-O4-l l76-T/AN

PORTER CABLE / DELTA,

Defendant.

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ORDER ALLOWING DEFENDANT TO FILE A REPLY TO PLAINTIFF’S
RESPONSE TO DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

 

This matter came on for consideration by this Court on Defendant’s l\/lotion for
Order Allowing Defendant to File a Reply to Plaintit`F s Response to Defendant’s l\/l`otion for
Sumrnary ludgrnent prior to the Submission of Defendant’s Motion for Surnmary Judgment
to the Court under Local Rule 7.2(b), and the entire record in this case from all of which it
appears to this Court that said motion is Well taken and should be granted

Defendant is hereby allowed to file a re ly to P]aintiff’s Response to Det`endant’s
Motion for Sumrnary Judgrnent no later than WL 41 , 2005.

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JAMES D ODD
UNITED ATES DISTRICT COURT JUDGE

This document entered on the docket sheet In compliance
with Rule 58 and,’or_79 {a) FRCP on ' "

Case 1:04-cv-01176-STA Document 31 Filed 08/26/05 Page 2 of 3 Page|D 32

CERTIFICATE OF SERVICE
l, W. Stephen Gardner, hereby certify that a copy of the foregoing was served upon

the following person by first class U.S. mail, postage prepaid, this the 25th day ot` August,

2005:

Justin S. Gilbert, Esq.
Gilbert & Russell, PLC

P. O. Box 11357

Jackson, Tennessee 38308

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w. sT§PHEi'~I GARDNER

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 31 in
case 1:04-CV-01176 was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

 

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Honorable J ames Todd
US DISTRICT COURT

